                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

  IN RE:                                           )
                                                   )
  DECATUR ATHLETIC CLUB, LLC,                      ) CASE NO. 17-81439-CRJ-11
                                                   ) CHAPTER 11
       Debtor.                                     )
                                                   )

                         ORDER ON MOTION FOR FINAL DECREE

       This matter came before the Court on December 3, 2018 upon the Debtor’s Motion for

Entry of Final Decree and Order Closing Chapter 11 Case [Doc. 340] (the “Motion”). Proper

notice was given and appearances were made as noted on the record.                   The Bankruptcy

Administrator noted that all bankruptcy administrator fees had been paid to date. The Court having

reviewed the Motion and the pleadings filed in this case, finds that the case has been fully

administered, and closure is in the best interest of the creditors and the estate. It is therefore

       ORDERED, ADJUDGED and DECREED that, pursuant to 11 U.S.C. § 350, the

Debtor’s Motion is GRANTED. This case is hereby CLOSED.


Dated this the 6th day of December, 2018.

                                                       /s/ Clifton R. Jessup, Jr.
                                                       Clifton R. Jessup, Jr.
                                                       United States Bankruptcy Judge


Order Prepared by:
Stuart M. Maples
MAPLES LAW FIRM, PC




Case 17-81439-CRJ11           Doc 348 Filed 12/06/18 Entered 12/06/18 15:11:03                   Desc
                                Main Document     Page 1 of 1
